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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                     BROWNSVILLE DIVISION

DISABILITY RIGHTS TEXAS,                           §
                                                   §
                 Plaintiff,                        §
                                                   §
vs.                                                §            CIVIL ACTION NO. 1:19-cv-00005
                                                   §
BRANDY K. LEONHARDT, in her                        §
official capacity as the President and Chief       §
Executive Officer of INSPIRED                      §
BEHAVIORAL HEALTH, INC., the parent                §
company of                                         §
INSPIRED @ LA JARRA RANCH,                         §
                                                   §
                 Defendant.                        §

                                      ORDER OF DISMISSAL

          On April 18, 2019, the Plaintiff Disability Rights Texas filed a Notice of Dismissal

pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

          Accordingly, it is hereby ORDERED that all claims asserted against any party in the

above-captioned lawsuit are hereby DISMISSED WITHOUT PREJUDICE to their being re-

filed.

          Each party shall bear its own attorneys’ fees and costs.

          THIS IS A FINAL JUDGMENT.

          SIGNED on this ____ day of ________________________, 2019.




                                                        UNITED STATES DISTRICT JUDGE
